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16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                                 )   Consolidated Cases:
18   DANIEL VILLALPANDO, individually and )          Case No. 3:12-cv-04137-JCS
19   on behalf of all others similarly situated, )   Case No. 4:13-cv-03091-JCS
                                                 )
20                                               )   REPLY MEMORANDUM IN SUPPORT
           Plaintiff(s),
                                                 )   OF PLAINTIFFS’ DAUBERT MOTION
21                                               )   TO EXCLUDE SPECULATIVE,
                                                 )   UNSUBSTANTIATED AND LEGAL
22         vs.
                                                 )   OPINION TESTIMONY OF JONATHAN
23                                               )   WALKER
     EXEL DIRECT INC., et al.,
                                                 )
24         Defendant(s).                         )   Date: April 20, 2016
                                                 )   Time: 9:30 a.m.
25                                               )   Judge: The Honorable Joseph C. Spero
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27
         REPLY MEMORANDUM ISO PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE SPECULATIVE,
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 1
     TAFITI SHEKUR, individually and on         )
 2   behalf of all others similarly situated,   )
                                                )
 3                  Plaintiff,                  )
                                                )
 4          vs.                                 )
                                                )
 5   EXEL DIRECT INC., et al.,                  )
                                                )
 6                  Defendants.                 )
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 1          INTRODUCTION

 2          Exel’s Opposition to Plaintiffs’ Daubert Motion to Exclude Testimony of Jonathan Walker
 3   [ECF 241] (“Ds’ Opp.”) only confirms that Dr. Walker’s testimony relies on the same incorrect
 4   factual assumptions and faulty legal arguments that permeate Exel’s defense.
 5          First, Dr. Walker mistakenly assumes that the foundation of Mr. Breshears’ damages
 6   analysis is testimony from a small sample of Class Members. This is simply false, as the crux of

 7   Mr. Breshears’ analysis relies on the compensation and mileage data which Exel selected, the PMK

 8   and manager deposition testimony that Exel provided, and the operational documents that Exel

 9   admits are uniform across the company. In rebuttal, Dr. Walker relies on a strawman version of

10   Mr. Breshears, constructed by Exel, which in reality does not exist.

11          Second, Dr. Walker attempts to rebut Plaintiffs’ expert Wesley Curtis’ cost-per-mile
     figures. Yet, this rebuttal has no foundation or value for the trier of fact because Mr. Curtis is
12
     indisputably the only one of the two who has any expertise or experience in this area.
13
            Third, Dr. Walker’s underlying methodology for rebutting Plaintiffs’ damages analysis
14
     conflicts with the methodology that decades of authority has established in wage and hour cases
15
     such as this one. Under applicable law, an employer cannot rebut just and reasonable inferences
16
     from the Plaintiffs simply by speculating about facts that possibly could change the damages
17
     calculus if they were true. Rather, the employer has the burden “to come forward with evidence
18
     of the precise amount of work performed or with evidence to negative the reasonableness of the
19
     inference to be drawn from the employee's evidence.” Anderson v. Mt Clemens Pottery Co., 328
20
     U.S. 680, 687-688 (1946). This basic principle has been reiterated in case after case over the years,
21
     not just in the context of minimum wage and overtime, but also in expense reimbursement and
22
     meal and rest periods claims as well.
23          Yet, while Exel presents Dr. Walker as a “rebuttal” expert, his methodology for rebutting
24   Plaintiffs’ damages analysis does not include either evidence of the precise amount of work
25   performed, or evidence to negative the reasonable inferences Plaintiffs proffer. Instead, Dr.
26   Walker simply criticizes Plaintiffs for making estimates as a general matter, and then offers
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 1   conjecture about how the results might be more precise if Plaintiffs undertook an individualized

 2   analysis. This is not an acceptable methodology for rebutting Plaintiffs’ showing of damages

 3   under the law, and thus would be utterly confusing and unhelpful to the trier of fact.

 4          Nor does Dr. Walker’s rebuttal testimony provide any reason to disregard the established

 5   burden shifting approach. He presents no analysis to suggest that Exel has maintained complete
     or adequate records that would require a more precise analysis from the Plaintiffs. He does not
 6
     rebut Mr. Breshears’ testimony that it would be cost prohibitive and likely inconclusive in any
 7
     event to analyze Exel’s warehouse of disorganized, incomplete and sometimes illegible scheduling
 8
     manifests, time sheets and logs. Indeed, Exel itself admits that these records are not adequate to
 9
     perform a damages analysis.
10
            At bottom, Dr. Walker’s approach is premised on an incorrect legal assumption regarding
11
     the burden of proof. This applies not just to the wage claims, but also the expense reimbursement
12
     claims as well as the meal and rest period claims. Dr. Walker’s testimony is thus unhelpful and
13
     inadmissible because it asks the jury to speculate about how damages might be different than
14
     Plaintiffs’ calculations, even though it will be Exel’s burden at trial to provide more precise figures
15
     to rebut Plaintiffs’ reasonable estimates.       By merely criticizing Plaintiffs’ experts for a
16
     methodology that allows for reasonable inferences, while refraining from presenting more precise
17   figures to rebut them, Dr. Walker has merely reiterated Exel’s own flawed legal argument on
18   damages. This does not meet the requirements of a rebuttal expert under the Federal Rules.
19
            ARGUMENT
20
            A.      Dr. Walker’s speculative damages analysis is not insulated from scrutiny
21                  merely because he is a rebuttal expert

22          Exel appears to argue that Dr. Walker’s speculation should be excused because he “is a
23   rebuttal expert” who has been tasked with identifying “deficiencies” in the reports of Plaintiffs’

24   experts, rather than with providing his own damages analysis. See Ds’ Opp. at 1:1-5 (emphasis in

25   original). Yet, the standard for a rebuttal expert witness is the same as for any expert witness,

26   regardless of their charge. Faulkner v. Arista Records LLC, 46 F. Supp. 3d 365, 386 (S.D.N.Y.
     2014). Speculation is not helpful to the trier of fact even if the proponent describes it as a mere
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 1   critique of an affirmative expert’s methodology. Cf. Ds’ Opp. at 9:13; see Floyd v. City of New

 2   York, 910 F. Supp. 2d 506, 516 (S.D.N.Y. 2012) (excluding rebuttal expert testimony that was not

 3   supported by objective facts or data in the record, even though it was offered as a rebuttal of the

 4   affirmative expert witness’ contrary hypothesis); see also Ollier v. Sweetwater Union High Sch.
     Dist., 768 F.3d 843, 861 (9th Cir. 2014) (reasoning that “speculative testimony is inherently
 5
     unreliable.”).
 6
            Dr. Walker’s testimony cannot be admitted because it is based on speculation. See Samuels
 7
     v. Holland Am. Line-USA Inc., 656 F.3d 948, 952 (9th Cir. 2011); see also Fed. R. Evid. 702
 8
     Advisory Committee’s Note, 2000 (“The trial judge in all cases of proffered expert testimony must
 9
     find that it is properly grounded, well-reasoned, and not speculative before it can be admitted.”).
10
     As discussed in Plaintiffs’ opening brief, Dr. Walker’s report is permeated by speculation about
11
     how the Class Members’ damages “could” be different than the figures presented in Mr. Breshears’
12
     Report if Mr. Breshears made different assumptions about how long Class Members work for Exel,
13
     how many miles they drive for Exel, how they maintain their trucks, and how they conduct
14   themselves during the course of the day. See Walker Report, at ¶¶ 32, 33, 48-50, 93, 98, 99, 107.
15   Dr. Walker does not merely comment on how damages could be different, but in fact presents his
16   own damages analysis based on this conjecture that literally awards all Class Members zero
17   recovery for the following expenses: fuel; truck liability insurance, license, registration and permit
18   fees; cargo insurance, cell phones, tires, repairs and maintenance; workers’ compensation
19   insurance; medical insurance; tolls; damage claims; and other miscellaneous costs. Id. at ¶¶ 86-

20   105; Walker Report at Figure 8; Walker Depo. at 48:2-22.

21          At the same time, Dr. Walker has not provided a detailed workup or realistic calculations

22   to actually rebut Mr. Breshears’ figures, as the burden-shifting law requires. Similarly, Dr. Walker
     makes no attempt to quantify the extent to which Mr. Breshears’ figures should be modified based
23
     on supposed methodological errors. See, e.g., Walker Depo. at 149:22-150:24 (admitting that he
24
     did not do an analysis of the extent to which Mr. Breshears counted drive time by second drivers,
25
     despite reducing damages based on his critique that Mr. Breshears did not consider the impact of
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 1   their drive time on calculating class member damages); id. at 154:1-24 (admitting he did not

 2   conduct any analysis of fuel costs, even though he knows they must be above zero).

 3          Exel’s defense of Dr. Walker’s speculative testimony is based on a semantic distinction of

 4   minimal significance. Exel claims that “Dr. Walker, by design, did not conduct his own damages
     analysis and did not present an independent assessment of the claims.” Ds’ Opp. at 2:1-9.
 5
     However, Dr. Walker admits that his report contains an analysis that “shows a partially corrected
 6
     version of Mr. Breshears’ analysis[.]” Exhibit 1,1 Deposition of Jonathan Walker (“Walker
 7
     Depo.”) at 47:19-48:22; see also Exhibit 2, Expert Report of Jonathan Walker (“Walker Report”)
 8
     at Figure 8. Exel itself describes Dr. Walker’s damages analysis as a “partial correction” to Mr.
 9
     Breshears’ damages analysis. Ds’ Opp. at 2:7-8. A “correction” of another expert’s damages
10
     analysis is not a mere critique of methodology—it is a conclusion that requires concrete factual
11
     support. Dr. Walker cannot have it both ways: he cannot present a damages analysis that literally
12
     awards Class Members nothing for entire categories of damages (without any factual basis for
13
     doing so), while at the same time insisting that these “corrections” are mere critiques of
14   methodology.
15          B.      Dr. Walker relies on impermissible extrapolation from an unrepresentative
                    sampling of Class Member testimony
16

17          Exel focuses its opposition on reiterating the central argument of its own Daubert motion—

18   that Mr. Breshears improperly extrapolated from non-representative data. See Ds’ Opp. at 2:12-

19   4:4; 6:9-15. To buttress the argument, Exel cites Duran v. U.S. Bank Nat. Assn., 59 Cal. 4th 1

20   (2014), a California outside salesperson exemption case in which the Plaintiffs depended on a non-

21   representative, self-selected sampling of class members to determine liability (i.e. whether the

22   class as a whole actually spent more than 50% of their time making sales outside the office). Id. at

23   12, 33-34, 38-39. Duran is inapposite, however, for the simple reason that Mr. Breshears did not

24   simply rely on a sample of class member testimony to make his conclusions. Rather, he based his

25   conclusions on data for approximately one third of the Class, Exel’s own estimates of Class

26   1
      All exhibits referenced herein are attached to the Reply Declaration of Nathan Piller in Support
27   of Plaintiffs’ Daubert Motion.
                                             4
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 1   Member expenses, and admissions by Exel’s own managers and executives regarding time worked

 2   and miles driven by the class as a whole.

 3          The only places in Mr. Breshears’ report that even cite class member testimony are in the

 4   sections concerning meal and rest periods, and minimum wage violations during the morning

 5   meetings. With respect to meal and rest periods, Mr. Breshears only cited class member testimony

 6   to provide Exel a discount from a 100% violation rate, even though it would be Exel’s burden of

 7   proof to demonstrate through records and otherwise that the Class Members received any fully

 8   compliant meal and rest periods despite a patently non-compliant policy. See Breshears Report at
 9   ¶¶ 39-42. In doing so, he notes that most class members testified to nearly a 100% violation rate

10   in any event. Id. at ¶¶ 40, 42; see Plaintiffs’ Opposition to Defendants’ Combined Daubert and

11   Decertification Motion [ECF 242] (“Ps’ Opp. to Ds’ Combined Mtn.”) at 11:19-14:22. Mr.

12   Breshears went through a similar exercise when making observations about paper timesheets and

13   logs. See Exh. 16 to Ps’ Opp. to Ds’ Combined Mtn. [ECF 242-4] Supplemental Expert Report of

14   David Breshears, at ¶¶ 9-17. Given the burden shifting that will occur if Plaintiffs demonstrate

15   that the policy is noncompliant and prevail on their other theories of recovery that all breaks are

16   noncompliant because they are not off-duty and/or separately paid, Mr. Breshears did not need the

17   class member testimony to reach his conclusions. Dr. Walker’s premise that Mr. Breshears simply

18   relies on unrepresentative sample is misinformed.2

19

20
     2
       With respect to the minimum wage violations, Exel argues that Mr. Breshears relied on the
21   deposition testimony of six class members to extrapolate the average amount of time class
     members spent at morning meetings. See Ds’ Opp. at 5:7-9. This argument ignores testimony of
22   Exel’s own management that the morning meetings occur on a daily basis, that Class Members are
23   required to attend, that the company has documented each morning meeting with a written morning
     meeting “agenda,” and that each day’s agenda is the same for all locations. See Plaintiffs’
24   Opposition to Defendants’ Combined Daubert and Decertification Motion [ECF 242] (“Ps’ Opp.
     to Ds’ Combined Mtn.”), at 15:1-7. Given Exel’s own evidence that each location has the same
25   agenda for each morning meeting, it was not unreasonable for Mr. Breshears to estimate the length
     of the morning meetings based on the available class member testimony. Indeed, neither Mr.
26
     Walker nor Exel provide any specific rebuttal to the 23.75 minute average that Mr. Breshears used.
27
                                             5
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 1          Ironically, what Exel fails to ever address is it is Dr. Walker, not Mr. Breshears, who relies

 2   on a sampling of class member testimony to make his conclusions. For example, Exel readily

 3   admits that Dr. Walker’s rebuttal of Mr. Breshears’ meal period analysis was based on reviewing

 4   class member testimony regarding how they “actually spent their time” in this case. See Ds’ Opp.

 5   at 11:7-9. In turn, Dr. Walker’s report indicates he only considered testimony from 3 of 386 Class

 6   Members, and one other employee, when formulating his rebuttal. Walker Report at ¶¶ 50-51.

 7   This is the very “extrapolation” that Exel argues Mr. Breshears should not have used in his

 8   analysis. Ds’ Opp. at 2:13-18 (arguing that Mr. Breshears relied on a “tiny sample[]” of “11
 9   deponents” for the meal period claim). As another example, Dr. Walker hones in on the nine

10   outlier Class Members he could identify who had enlisted second drivers—approximately 2% of

11   the Class—to reach the conclusion that Mr. Breshears’ entire damages analysis is unreliable. Dr.

12   Walker’s correspondence with his own staff members makes this approach plain. See Exhibit 4, e-

13   mail correspondence, at JW000040 (directing staff to “identify one or two extreme examples” of

14   Class Members who personally drove and made deliveries only on an infrequent basis).

15          C.      Dr. Walker’s testimony is indistinguishable from Exel’s flawed legal
                    argument that Plaintiffs must prove damages individually and with absolute
16
                    precision
17
            While rebuttal experts may critique the methodology of an affirmative expert without
18
     offering their own damages analysis, expert opinion as to whether a party can prove its damages
19
     is inadmissible. See Slicex, Inc. v. Aeroflex Colorado Springs, Inc., 2006 WL 1932344, at *3 (D.
20
     Utah July 11, 2006) (“The determination of whether Plaintiff has proven damages is something
21   that is within the sole province of the fact finder… testimony on the issue of whether Plaintiff has
22   proven damages would not be helpful to the fact finder. Such testimony would essentially tell the
23   fact finder the conclusion it should reach.”).
24          Here, Dr. Walker states that the “purpose” of his corrections to Mr. Breshears’ analysis
25   was “to show what happens to Mr. Breshears’ estimates when you carve away things that he
26   included for which he had no basis.” See Walker Depo. at 153:1-12. Exel itself admits that Dr.

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                                             6
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 1   Walker’s central conclusion was that Plaintiffs’ expert reports “did not meet acceptable standards

 2   for presenting reliable proof”—a legal conclusion on the burdens of proof that is indistinguishable

 3   from the legal position Exel advanced in its motion for decertification. See Ds’ Opp. at 2:5-9. In

 4   other words, by zeroing out entire categories of damages based on a legally erroneous and
     unrealistically high standard of precision, Dr. Walker mimes Exel’s legal argument as to “what
 5
     happens” when Plaintiffs seek to prove damages by “just and reasonable inference.” See
 6
     Defendants Combined Daubert and Decertification Motion [ECF 238-1] (“Ds’ Combined Br.”),
 7
     at 26:8-22 (arguing that “just and reasonable inferences” are not available to Plaintiffs).
 8
            For instance, Dr. Walker’s opinion is that Plaintiffs cannot claim any damages for
 9
     unreimbursed fuel costs—despite acknowledging that Class Members incurred such costs, see
10
     Walker Depo. at 154:1-18—because Mr. Breshears’ analysis did not meet Dr. Walker’s “criteria”
11
     for establishing damages with precision. See id. at 153:20-22. In essence, Dr. Walker draws the
12
     legal conclusion that reimbursements for fuel cannot be shown using mileage data and a reasonable
13
     mileage reimbursement rate, but rather that they must be shown by other undefined means, such
14   as, perhaps, gas receipts or individual interviews. See Walker Depo. at 38:7-39:7; 57:13-60:2. This
15   disregards legal precedent explicitly endorsing a cost-per-mile method. See Gattuso v. Harte-
16   Hanks Shoppers, Inc., 42 Cal. 4th 554, 569 (2007). Moreover, Dr. Walker testified in deposition
17   that even reviewing Class Member tax returns would not be enough to calculate damages because
18   there is always the possibility that a class member might not be credible and that the tax returns
19   may overstate expenses. Id. at 35:19-36:1; 38:7-40:13; 57:13-60:2. In other words, Dr. Walker’s

20   opinion is indistinguishable in substance from Exel’s own legal position that Plaintiffs must prove

21   all damages individually, and with absolute precision. This sort of legal position is not helpful to

22   the trier of fact, particularly when the law permits Plaintiffs to prove damages by just and
     reasonable inference as to non-testifying employees. See, e.g., McLaughlin v. Ho Fat Seto, 850
23
     F.2d 586, 589 (9th Cir. 1988).
24
            Dr. Walker also excludes several other categories of expense reimbursements from his
25
     damages analysis merely because Plaintiffs have not provided receipts or other exact computations
26
     of expenses incurred for each Class Member. For example, Dr. Walker excludes tire replacement
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                                             7
          REPLY MEMORANDUM ISO PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE SPECULATIVE,
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 1   costs and preventative maintenance because Plaintiffs factored the incremental costs of such items

 2   into a reasonable mileage reimbursement rate, rather than providing individual receipts showing

 3   each and every time any class member had maintenance or repairs performed. See Walker Depo.

 4   at 69:23-70:23; 71:16-72:5. Dr. Walker concludes that such categories should be excluded because
     they do not meet his standards of precision, even though he declines to offer any more precise
 5
     evidence to rebut Plaintiffs’ showing. This is the same as Exel’s faulty legal position that Plaintiffs
 6
     cannot prove the same damages without individualized evidence for each Class Member. See Ds’
 7
     Combined Br., at 26:9-15. Thus, Dr. Walker’s damages analysis is inadmissible because it does
 8
     no more than tell the trier of fact to reach the same erroneous legal conclusion advanced by Exel.
 9
     See Slicex, 2006 WL 1932344, at *3.
10
            D.      Dr. Walker’s speculation is not helpful to the trier of fact because it does not
11                  attempt to rebut Plaintiffs’ just and reasonable inferences
12
            As discussed in Plaintiffs’ opening brief, it is well established in the area of wage and hour
13
     law that plaintiffs can demonstrate classwide damages through representative testimony and
14   reasonable estimates where a defendant employer’s records are incomplete or inadequate. See Mt.
15   Clemens, 328 U.S. at 687-688; McLaughlin, 850 F.2d at 589; Hart v. Rick's Cabaret Int'l, Inc., 73
16   F. Supp. 3d 382, 391 (S.D.N.Y. 2014); Hernandez v. Mendoza, 199 Cal.App.3d 721, 727 (1988)
17   (applying Mt. Clemens burden shifting to wage and hour claims under California law).
18          Moreover, the representative testimony and estimates here are even more probative and
19   reliable than in the typical wage and hour case because they come from research and assessments
20   that Exel’s own senior management has admitted to be useful, reliable and important in making
21   business decisions for the company. See Ps’ Opp. to Ds’ Combined Mtn. at 23:15-24:20; see
22   Vaccarino v. Midland Nat. Life Ins. Co., 2013 WL 3200500, at *14 (C.D. Cal. June 17, 2013)
23   (observing that “defendant's own admissions” may demonstrate that damages can “feasibly and
24   efficiently be calculated once the common liability questions are adjudicated.”) (internal citations
25   omitted). In addition, Defendants’ own witnesses have testified to miles driven per day and days
26

27
                                             8
          REPLY MEMORANDUM ISO PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE SPECULATIVE,
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 1   worked per week, which can be used along with Exel’s own documented cost projections and

 2   studies, to prove damages at trial. See Ps’ Opp. to Ds’ Combined Mtn. at 24:21-25:3.

 3          Contrary to Exel’s assertions, see Ds’ Opp. at 8:5; 9:4-12, “just and reasonable inferences”

 4   are available to Plaintiffs because Exel has failed to maintain complete and adequate records.

 5   Indeed, Exel admitted in its combined Daubert and decertification motion that its paper “records”

 6   would not be adequate as a method of proving damages at trial. See Ds’ Combined Br. at 24:20-

 7   25:6 (acknowledging that it was “reasonable” for Plaintiffs not to analyze Exel’s paper manifests

 8   and incomplete timesheets, because assembling the over “4 million documents” for trial would “be
 9   incredibly difficult and time consuming (if even possible at all).”); id. (acknowledging that using

10   the voluminous documents Exel made available at the Los Angeles warehouse to prove damages

11   would be “entirely inappropriate in the class action context.”).

12          Mr. Breshears explained in his deposition why the disorganized, incomplete, and

13   sometimes illegible manifests and timesheets are not adequate or reliable for measuring damages.

14   Breshears Depo. at 28:15-29:7; 74:4-75:25; 150:20-151:24. In response, Exel did not present the

15   paper manifests, timesheets and logs that it made available at the Los Angeles warehouse to the

16   Court in any form or make any attempt to demonstrate that they are complete or usable. In fact,

17   Exel admits that it has not shown that these “records” are complete. See Ds’ Opp. at 9:6, n. 14.

18          It will be Exel’s burden at trial to rebut Plaintiffs’ reasonable estimates. See Mt. Clemens,

19   328 U.S. at 687-688. Nevertheless, Dr. Walker does not provide any concrete, alternative

20   quantification to rebut Mr. Breshears’ analysis. Instead, Dr. Walker criticizes Mr. Breshears for

21   drawing the very sorts of reasonable inferences Plaintiffs are entitled to draw in light of Exel’s

22   failure to maintain complete and adequate records. For instance, Dr. Walker refrained from

23   making any effort to determine the fuel costs that were incurred (despite acknowledging that Exel’s

24   own data show that Class Members drove numerous miles while working for Exel, see id. at ¶ 94),

25   instead stating in a conclusory manner that Mr. Breshears would have reached a more accurate

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                                             9
          REPLY MEMORANDUM ISO PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE SPECULATIVE,
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 1   figure if he had “gone through a different analysis” that did not involve drawing inferences from

 2   the available data. See Walker Depo. at 154:16-24; id. at 154:1-24.3

 3          Dr. Walker also fails to calculate a margin of error or to quantify the likelihood of any

 4   difference between Mr. Breshears’ figures and what Dr. Walker would presumably consider to be

 5   more precise figures. Indeed, Dr. Walker concedes that it would be “very complicated to quantify”

 6   Mr. Breshears’ errors, so he dispensed with calculating an actual margin of error and instead opted

 7   to “show the extremes[.]” Id. at 148:20-149:3. For instance, Dr. Walker hones in on outlier class

 8   members (who, unlike most Class Members, managed multiple second drivers for Exel’s benefit)
 9   to speculate that Mr. Breshears’ figures are inflated because he failed to account for the impact of

10   drive time and mileage of Exel’s second drivers. Yet, Dr. Walker admits that he made no attempt

11   to quantify a reduction in damages based on this supposed error. See id. at 149:22-150:24.

12          Exel contends that Dr. Walker’s speculative testimony is grounded in the data because he

13   referred to a percentage of routes contained in Exel’s data that he claims were covered by second

14   drivers. See Ds’ Opp. at 5:22-24. However, Dr. Walker does not identify the number of Class

15   Members who enlisted second drivers, Walker Depo. at 78:24-79:6, nor does he attempt to quantify

16   a reduction in Mr. Breshears’ analysis commensurate with this percentage. Dr. Walker’s reference

17   to the percentage of routes driven by second drivers also is misleading because the percentage is

18   inflated by outlier Class Members who may have managed several second drivers at the same time.

19   It may also be inflated because of gaps in the data. Regardless, until Exel actually identifies those

20   Class Members who have enlisted second drivers beyond what Mr. Breshears already has

21   accounted for, claims of inflation are conjectural.

22          It is ironic at best that Exel accuses Plaintiffs’ experts of inappropriate extrapolation, see

23   Ds’ Opp. at 6:9-15, given that it is Dr. Walker who hones in on outlier examples to support his

24   contention that Plaintiffs should receive zero damages in several categories. For his part, Mr.

25
     3
      In this connection, Exel admits that Plaintiffs incurred actual expenses that are not reflected in
26
     Figure 8 of the Walker Report, see Ds’ Opp. at 10:2, n.15, but it has nevertheless refrained from
27   providing an actual numerical rebuttal to Mr. Breshears’ analysis.
                                             10
          REPLY MEMORANDUM ISO PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE SPECULATIVE,
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 1   Breshears included an alternative damages calculation in his declaration submitted in connection

 2   with Plaintiffs’ opposition to Exel’s combined Daubert and decertification motion that excludes

 3   data potentially attributable to second drivers and eliminates extrapolation. See Declaration of

 4   David Breshears, Exhibit 17 to the Declaration of Nathan Piller in opposition to Defendants’

 5   combined Daubert and decertification motion [ECF 242-4].

 6          Dr. Walker’s testimony is thus unhelpful and inadmissible because it asks the jury to

 7   speculate about what damages might be, even though it will be Exel’s burden at trial to provide

 8   more precise figures to rebut Plaintiffs’ reasonable estimates. See, e.g., Kamar v. Radio Shack
 9   Corp., 254 F.R.D. 387, 403 (C.D. Cal. 2008) (reasoning that if the employer defendant “did not

10   have the required records for a claimant, then the claimant would have a relatively light burden”

11   to prove damages by just and reasonable inference “before the burden shifts to the employer to

12   produce specific evidence refuting the employee's claim.”) (emphasis added); see also Bell v.

13   Farmers Ins. Exchange, 115 Cal.App.4th 715, 748 (2004) (same).

14          By merely criticizing Plaintiffs’ experts for a methodology that allows for reasonable

15   inferences while refraining from presenting more precise figures to rebut the just and reasonable

16   inferences, Dr. Walker has merely reiterated Exel’s own legal argument on damages. This analysis

17   does not meet the requirements of a rebuttal expert under the Federal Rules. Fed. R. Civ. P. 26

18   (a)(2)(C); Campbell v. Garcia, 2015 WL 995244, at *2 (D. Nev. Mar. 6, 2015) (“Rebuttal expert

19   testimony is restricted to subjects which are ‘intended solely to contradict or rebut evidence on

20   the same subject matter identified by another party.’”); Boles v. United States, 2015 WL 1508857,

21   at *3 (M.D.N.C. Apr. 1, 2015) (excluding rebuttal expert’s testimony where it did not rebut the

22   conclusions of the opposing expert).

23          E.      Dr. Walker’s admitted lack of specialized knowledge renders his testimony
                    regarding mileage reimbursement rates unhelpful and inadmissible
24

25          Under the Federal Rules of Evidence, only “a witness qualified as an expert by knowledge,

26   skill, experience, training, or education, may testify thereto in the form of an opinion or otherwise.”
     Fed. R. Evid. 702 (emphasis added). As discussed in Plaintiffs’ opening brief, Dr. Walker
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                                             11
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 1   admittedly lacks knowledge or training regarding the calculation of mileage reimbursement rates,

 2   and does not claim to possess any qualifications bearing on mileage reimbursement rates. See

 3   Walker Report at ¶¶ 1-3; Walker Depo. at 76:23-78:10. Indeed, Dr. Walker admits he does not

 4   know how mileage reimbursement rates are calculated. Id. Dr. Walker’s remarkable lack of
     familiarity with trucking costs and mileage reimbursement was made plain in his deposition, when
 5
     he claimed not to know one way or another whether driving a truck for Exel would result in
 6
     economic depreciation of tires. Id. at 70:18-25.
 7
            In opposition, Exel acknowledges that Dr. Walker is not an expert on mileage
 8
     reimbursement rates, but argues that this admitted lack of specialized knowledge is excusable
 9
     because he is “a rebuttal expert in the field of economics” and was merely “evaluat[ing] the Curtis
10
     calculations” to demonstrate that they are unreliable. See Ds’ Opp. at 7:3-12. Yet, neither a
11
     specialization in economics nor status as a rebuttal expert grant experts carte blanche to provide
12
     testimony regarding areas in which they admittedly lack any related expertise, experience, or
13
     specialized knowledge. See, e.g., Mid-State Fertilizer Co. v. Exch. Nat. Bank of Chicago, 877 F.2d
14   1333, 1339-40 (7th Cir. 1989) (reasoning that expert’s qualification as an economist did not qualify
15   him to opine on traditional banking practices).
16          Even if he were qualified in this specialized area of mileage reimbursement rates, Dr.
17   Walker’s flawed methodology should not be admitted because it would confuse the jury. See
18   Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 595-97 (1993) (reasoning that the Court
19   assumes a gatekeeping role to “prevent jury exposure to confusing and unreliable expert

20   testimony”); Botnick v. Zimmer, Inc., 484 F. Supp. 2d 715, 721 (N.D. Ohio 2007) (excluding expert

21   testimony that was not based on a “reliable methodology” and reasoning that “Daubert recognizes

22   the duty of the trial court to reduce the risk of jury confusion by exercising just such control over
     expert witnesses.”). For instance, Dr. Walker opines that costs of maintenance, repairs, and tire
23
     replacements, among other driving costs incurred incrementally in the course of driving numerous
24
     miles for Exel, cannot be included in a reasonable mileage reimbursement rate because Plaintiffs
25
     have not produced individualized proof of the actual expenses. See Walker Depo. at 69:23-70:23;
26
     71:16-72:5. However, as discussed in Plaintiffs’ opening brief, reasonable mileage rates are
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                                             12
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 1   designed to reimburse employees for costs incurred incrementally, not on a receipt-by-receipt

 2   basis. See Plaintiffs’ Daubert Motion [ECF 237] (“Ps’ Opening Br.”) at 7:25-8:25. Dr. Walker’s

 3   unreliable opinion demonstrates a flawed conceptual understanding of mileage rates, and would

 4   mislead the jury that wear and tear and other incremental costs were not incurred and/or are not
     recoverable under the law.
 5

 6          F.      Dr. Walker does not rely on sound legal assumptions, but rather draws
                    inadmissible legal conclusions
 7
            Exel attempts to reframe Dr. Walker’s testimony as merely relying on legal assumptions
 8
     rather than drawing legal conclusions. See Ds’ Opp. at 10:3-16. As discussed above, this vague
 9
     distinction does not square with Exel’s simultaneous admission that Dr. Walker’s entire goal was
10
     to demonstrate that Plaintiffs’ experts “did not meet acceptable standards for presenting reliable
11
     proof.” See Ds’ Opp. at 2:5-9. Indeed, by definition, determining the “acceptable standard”
12
     involves a determination as to what is sufficient proof under applicable law.4 Rather than
13
     addressing Mr. Breshears’ methodology, Dr. Walker is merely contending that the legal
14   assumption on which Mr. Breshears relied is incorrect. See id. at 12:10-12 (acknowledging that
15

16   4
       Exel’s criticism of Mr. Breshears’ analysis of the meal period claims is simply to state that
17   Plaintiffs’ legal theory of recovery is wrong. Id. at 10:18-11:26. However, there is no basis for
     either Exel or Dr. Walker to make this conclusion. For example, Exel’s uniform policy of requiring
18   drivers to be perpetually responsible for ensuring the safety of the trucks and their cargo means
     that Class Members are not provided any off-duty time at all. See 2009.06.09 DLSE Op. Ltr. at 5
19   (finding that policy preventing truck driver from leaving truck unattended resulted in meal periods
     being on-duty); Bono Enterprises, Inc. v. Bradshaw, 32 Cal. App. 4th 968, 975 (1995) (equating
20   on duty for purposes of meal periods with restraints that prevent the employees from using the
     time effectively for their own purposes). Aside from the on-duty issue, it will be Exel’s burden of
21   proof to demonstrate that compliant breaks were taken, once Plaintiffs show that the policy was
     systemically flawed. See Ps’ Opp. to Ds’ Combined Mtn.”) at 11:19-14:22 Exel relies on
22   inapplicable cases in opposition See Ds’ Opp. at 11:10-26 (relying on 10th Circuit authority and an
     inapposite DLSE opinion letter stating that employees may be off duty if they have to respond to
23   pages). In this respect, Dr. Walker indeed relied on an “invalid conclusion of law[,]”
     notwithstanding Exel’s assertions to the contrary. See Ds’ Opp. at 10:10-13. This analysis is
24   unchanged by the “small subset” of records which Exel claims contain a space allowing Drivers
     to write in whether they took a break, and show drivers “recording breaks 68% of the time.” See
25   Ds’ Opp. at 12:2-4. These records admittedly reflect only a small subset of Exel’s overall records,
     most of which do not even include a space for drivers to enter meal periods taken. Exel also does
26   not even attempt to argue that the recorded breaks meet the timing requirements of the Labor Code,
     and nor could it, as Mr. Breshears’ analysis shows any “breaks” shown on these documents are
27   noncompliant over 90% of the time. See Ps’ Opp. to Ds’ Combined Mtn. at 13:19, n.12.
                                             13
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 1   Dr. Walker’s charge was to explain why Mr. Breshears’ approach was “insufficient.”). This is no

 2   different than offering a legal conclusion, and is not helpful to the jury.

 3          As just one other example, Exel misconstrues Dr. Walker’s “corrections” to Mr. Breshears

 4   damages analysis as mere commentary on methodology to conveniently suit its present interests.
     As discussed in Plaintiffs’ opening brief, Dr. Walker does not merely rely on legal assumptions,
 5
     but rather draws the legal conclusions that several categories of expense reimbursements should
 6
     simply be excluded as unrecoverable. See, e.g., Walker Report at ¶¶ 56-57; 88; 93; 96. Thus, Dr.
 7
     Walker’s testimony is indistinguishable from legal conclusions and should be excluded.
 8
            G.      Prejudicial methodological flaws render as moot any marginal relevance of
 9
                    Dr. Walker’s rebuttal to Mr. Breshears’ “savings to Exel” analysis
10
            Exel argues that Dr. Walker’s lengthy examination of why Class Members may have been
11
     better off financially as independent contractors is somehow relevant because Mr. Breshears
12
     provided a calculation of Exel’s own projected savings from reclassifying its employee delivery
13
     drivers as independent contractors. See Ds’ Opp. at 12:13-23. Notably, Mr. Breshears’ analysis
14   did not comment on the theory of restitution underlying Plaintiffs’ claim under California’s Unfair
15   Competition law, which alleges that Exel’s unlawful misclassification scheme gave it an unfair
16   competitive advantage, resulting in savings to Exel and commensurate losses to Class Members.
17   See Cal. Bus. & Prof. Code § 17200; Consolidated First Amended Complaint [ECF 65] at ¶¶ 173-
18   180. Rather, Mr. Breshears merely calculated Exel’s total savings, assuming as true Exel’s own
19   figures regarding its savings per truck and the number of trucks. See Exhibit 5, Expert Report of

20   David Breshears (“Breshears Report”) at ¶¶ 49-52. In this respect, Mr. Walker’s commentary on

21   the viability of Plaintiffs’ theory of restitution does not rebut Mr. Breshears’ analysis, and should

22   be stricken as irrelevant.

23          In contrast, Dr. Walker’s attempt to demonstrate that drivers classified as independent
     contractors earned more, on average, than the second drivers that they managed for Exel’s benefit,
24
     is methodologically flawed. Walker Report, at Section IV; ¶¶ 16-30. As discussed in Plaintiffs’
25
     opening brief, instead of using wage rates of employee drivers determined in a market free from
26
     unlawful misclassification, Dr. Walker uses the wages of Exel’s second drivers—who were paid
27
                                             14
          REPLY MEMORANDUM ISO PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE SPECULATIVE,
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 1   directly by Class Members in an environment tainted by misclassification—as a proxy for the

 2   “market” rate for employee drivers. See id. at ¶¶ 27-30.        Moreover, Dr. Walker relied on

 3   extrapolation from a non-representative sample of class member testimony to determine a

 4   “market” rate. See id. at ¶ 27, n.9. Wage figures determined within an unlawful environment like
     Exel’s misclassification scheme are “tainted variables” because the unlawful environment skews
 5
     their value and conceals disparities. Cf. Butler v. Home Depot, Inc., 1997 WL 605754, at *11 (N.D.
 6
     Cal. Aug. 29, 1997) (denying motion for summary judgment where the defendant’s statistical
 7
     analysis depended on the “tainted variable” of starting wages, which were affected by an
 8
     environment of gender discrimination).
 9
            Exel argues that this flaw “goes only to the weight of Dr. Walker’s testimony, not the nature
10
     of his expertise.” Ds’ Opp. at 13:1-14. Not so. Indeed, methodological errors that render
11
     conclusions unreliable are inadmissible because they are prejudicial and misleading. See, e.g.
12
     Moisenko v. Volkswagenwerk Aktiengesellschaft, 198 F.3d 246, 1999 WL 1045075 at *4 (6th
13
     Cir.1999) (finding that the absence of a reliable methodology forms the basis to exclude expert
14   testimony as prejudicial); Botnick, 484 F. Supp. 2d at 721 (excluding expert’s testimony and
15   reasoning that “the introduction of his hypothesis without a reliable methodology implicates the
16   jury prejudice concerns enunciated in Fed.R.Evid. 403.”). Thus, the methodological flaws in Dr.
17   Walker’s comparison between employee driver wages and independent contractor driver wages
18   do not merely go to the weight of the evidence, but must be stricken entirely to prevent prejudice.
19          CONCLUSION

20          For all the foregoing reasons, Plaintiffs’ Daubert motion should be granted.
21   Respectfully submitted,
22
         Dated: March 18, 2016              SCHNEIDER WALLACE
23                                          COTTRELL KONECKY WOTKYNS LLP
24
                                            /s/ Joshua G. Konecky
25                                              Joshua G. Konecky
                                                Counsel for Plaintiffs
26

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                                             15
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                                     CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on March 18, 2016, I electronically filed the foregoing document

 3   with the Clerk of the Court using the Court's CM/ECF system, which will send a notice of

 4   electronic filing to all CM/ECF participants.
 5

 6
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